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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 BALTIMORE DIVISION


American Federation of Teachers, et al.,

                  Plaintiffs,

  v.

U.S. Department of Education, et al.,                         Civil Case No. 1:25-cv-00628

                  Defendants.




               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs American Federation of

Teachers, American Sociological Association, American Federation of Teachers-Maryland, and

Eugene School District 4J hereby move for a preliminary injunction to prevent Defendants from

causing irreparable harm to Plaintiffs, their members, and educators and students around the

country before this Court can resolve the merits of this case. As set forth in more detail in Plaintiffs’

Amended Complaint and the memorandum accompanying this motion, Defendants’ actions

violate the First and Fifth Amendments of the U.S. Constitution, and numerous provisions of the

Administrative Procedure Act.

        WHEREFORE, Plaintiffs respectfully request that the Court:

        (i)     enter a preliminary injunction ordering that Defendants, and their officers, agents,

                servants, employees, attorneys (whether employed by the Department of

                Education or the Department of Justice), and other persons who are in active




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        concert or participation with any of them (collectively, the “Enjoined Parties”),

        shall take no steps to initiate, against any educational institution: any

        investigations under the authority of; any assessment of compliance under the

        authority of; or, pause, freeze, impede, block, cancel, or terminate any federal

        awards, contracts, or obligations on the basis of: 1) Dear Colleague Letter of

        February 14, 2025, U.S. Department of Education (the “Letter”), 2) “Frequently

        Asked Questions About Racial Preferences and Stereotypes Under Title VI of the

        Civil Rights Act” (February 28, 2025);

(ii)    enter a preliminary injunction ordering that Enjoined Parties are enjoined from

        implementing, giving effect to, or reinstating the Letter under a different name;

(iii)   enter a preliminary injunction ordering that the End DEI Portal be inactivated and

        removed from the Department of Education website;

(iv)    enter a preliminary injunction ordering that to the extent Enjoined Parties exercise

        any investigation or enforcement authority with respect to alleged discrimination

        on the basis of race, color, or national origin under Title VI, such investigation or

        enforcement, must be consistent with the Departments’ guidance in the following:

        1) Dear Colleague Letter re: Students For Fair Admissions, Inc. v. Harvard

        College And University Of North Carolina (Aug. 14, 2023); 2) Questions And

        Answers Regarding The Supreme Court’s Decision In Students For Fair

        Admissions, Inc. v. Harvard College And University Of North Carolina (Aug. 14,

        2023); 3) Dear Colleague Letter re: Race and School Programming (August 24,

        2023); 4) Strategies for Increasing Diversity and Opportunity in Higher

        Education (Sept. 28, 2023); 5) Fact Sheet: Ensuring Educational Opportunities




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            for All Students on Equal Terms 70 Years After Brown v. Board of Education (May

            2024); and 6) Fact Sheet: Harassment based on Race, Color, or National Origin

            on School Campuses (July 2, 2024);

     (v)    enter a preliminary injunction ordering that the Department restore public website

            access to all guidances related to Title VI removed from the Department of

            Education website after January 20, 2025; and

     (vi)   and order that the preliminary injunction shall apply to the maximum extent

            provided for by Fed. R. Civ. P. 65(d)(2) and shall persist until further order of this

            Court.



Dated: March 28, 2025                             Respectfully submitted,

                                                  /s/ Victoria S. Nugent

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                                                  + Application for full admission pending



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                             CERTIFICATION OF SERVICE

      I hereby certify that on March 28, 2025, I electronically filed this document with the Court

by using the CM/ECF system, and that this document was distributed via the Court’s CM/ECF

system.

                                                           /s/ Victoria S. Nugent____________
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